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Approved:            J5.
            MICHAEL
            Assistant United States Attorney

Before:     THE HONORABLE KEVIN NATHANIEL FOX
            United States Magistrate Judge
            Southern District of New York
                                                 20 MAG 5275
                                     -x
                                            SEALED COMPLAINT
UNITED STATES OF AMERICA
                                            Violations of
            - v. -                          18 u.s.c. §§ 1001, 1347,
                                            1028A; 50 U.S.C.
RICHARD SCHIRRIPA,                          §§ 4512, 4513
     a/k/a "the Mask Man,"
                                            COUNTY OF OFFENSE:
                      Defendant.            NEW YORK

                                     -x

SOUTHERN DISTRICT OF NEW YORK, ss.:

     MATTHEW MACCHIAROLI, being duly sworn, deposes and says that
he is a Special Agent with the Department of Homeland Security --
Homeland Security Investigations ("HSI") and charges as follows:

                            COUNT ONE
      (Defense Production Act -- Hoarding and Price Gouging)

     1.    Between on or about March 26, 2020 and April 10, 2020,
in the Southern District of New York and elsewhere, RICHARD
SCHIRRIPA,   a/k/a "the Mask Man," the defendant,       knowingly,
intentionally, and willfully accumulated ( i) in excess of the
reasonable demands of business, personal, and home consumption,
and (ii) for the purpose of resale at prices in excess of
prevailing market prices, materials which had been designated by
the President of the United States as scarce materials the supply
of which would be threatened by such accumulation, to wit,
SCHIRRIPA purchased at least approximately $200,000 worth of N95
masks between February and April 2020, and sold thousands of N95
masks at severely inflated prices during both late March and April
2020, during the novel coronavirus/COVID-19 global pandemic.

     (Title 50, United States Code, Sections 4512 and 4513.)
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                             COUNT TWO
                (False Statement to a Federal Agent)

      2.   On or about January 31, 2020, in the Southern District
of New York, RICHARD SCHIRRIPA, a/k/a "the Mask Man," the
defendant, in a matter within the jurisdiction of the executive
branch of the Government of the United States, willfully and
knowingly, falsified, concealed, and covered up by trick, scheme,
and device a material fact, and did make a materially false,
fictitious, and fraudulent statement and representation, to wit,
SCHIRRIPA wrote a letter to the New York Division of the Drug
Enforcement Administration ("DEA"), in New York, New York, in which
SCHIRRIPA falsely represented, among other things, that as part of
the recent closure of SCHIRRIPA'S pharmacy, he had transferred to
others, sold, or destroyed all controlled substances, when in truth
and fact, SCHIRRIPA remained in possession of thousands of
controlled   substance   pills/patches,   including,  among   other
substances, fentanyl, oxycodone, oxymorphone, morphine sulfate,
methadone,      hydromorphone,     dextroamphetamine,     concert a,
clonazepam, nucynta, vyvanse, and zolpidem.

         (Title 18, United States Code, Section l00l(a) .)

                             COUNT THREE
                (False Statement to a Federal Agent)

      3.  On or about February 11, 2020, in the Southern District
of New York, RICHARD SCHIRRIPA, a/k/a "the Mask Man," the
defendant, in a matter within the jurisdiction of the executive
branch of the Government of the United States, willfully and
knowingly, falsified, concealed, and covered up by trick, scheme,
and device a material fact, and did make a materially false,
fictitious, and fraudulent statement and representation, to wit,
SCHIRRIPA falsely told two DEA Di version Investigators, in New
York, New York, among other things, that as part of the recent
closure of SCHIRRIPA' s pharmacy, he had transferred to others,
sold, or destroyed all controlled substances in his possession,
when in truth and fact, SCHIRRIPA remained in possession of
thousands of controlled substance pills/patches, including, among
other substances,   fentanyl,  oxycodone, oxymorphone, morphine
sulfate, methadone, hydromorphone, dextroamphetamine, concerta,
clonazepam, nucynta, vyvanse, and zolpidem.

         (Title 18, United States Code, Section l00l(a) .)




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                             COUNT FOUR
                         (Health Care Fraud)

      4.   From at least in· or about 2014 up to and including
September 10, 2019, in the Southern District of New York and
elsewhere, RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant,
willfully and knowingly executed, and attempted to execute, a
scheme and artifice to defraud a health care benefit program and
to   obtain,   by means   of  false   and  fraudulent   pretenses,
representations, and promises, money and property owned by, and
under the custody and control of, a health care benefit program,
in connection with the deli very of and payment for heal th care
benefits, items, and services, to wit, SCHIRRIPA caused Medicare
and Medicaid to be billed for controlled substance prescriptions,
representing that those prescriptions were for patients of his
pharmacy, when in fact, those prescriptions were not for patients
of   his   pharmacy,  and   SCHIRRIPA   himself  possessed   those
prescriptions at his home in Long Island.

       (Title 18, United States Code, Sections 1347 and 2.)

                             COUNT FIVE
                     (Aggravated Identity Theft)

     5.    From at least in or about 2014 up to and including
September 10, 2019, in the Southern District of New York and
elsewhere, RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant,
knowingly transferred,    possessed,   and used,    without lawful
authority, a means of identification of another person, during and
in relation to a felony violation enumerated in Title 18, United
States Code, Section 1028A(c), to wit, SCHIRRIPA transferred,
possessed, used, and aided and abetted the transfer, possession,
and use of, the names and other personal identification information
of individual patients of his pharmacy to commit the health care
fraud offense charged in Count Four of this Complaint.

      (Title 18, United States Code, Sections 1028A and 2.)

     The bases for my knowledge and for the foregoing charges are,
in part, as follows:

     6.   I have been a Special Agent with HSI for approximately
seven years.    I am currently assigned to HSI-New York's Dark
Web/Virtual Currencies Task Force. I have been personally involved
in the investigation of this matter, along with other HSI agents
and agents or officers of the U.S. Postal Inspection Service, the
DEA, and the New York City Police Department.   This affidavit is

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based upon my investigation,      my conversations with others
including other law enforcement agents, and my examination of
reports, records, and other evidence.   Because this affidavit is
being submitted for the limited purpose of establishing probable
cause, it does not include all the facts I have learned during the
course of my investigation.   Where the contents of documents and
the actions, statements, and conversations of others are reported
herein, they are reported in substance and in part, except where
otherwise indicated. All dates are approximate.

                               OVERVIEW

     7.   As set forth in greater detail below, RICHARD SCHIRRIPA,
a/k/a "the Mask Man," the defendant, engaged in at least three
different criminal schemes:

           a.   First, from at least late March to April 2020,
during the COVID-19 global pandemic, SCHIRRIPA engaged in hoarding
and price gouging of thousands of 3M N95 masks. Between February
and April 2020, he purchased at least approximately $200,000 worth
of N95 masks.   On March 25, 2020, the Defense Production Act was
invoked, maki~g it a crime to engage in ~oarding or price gouging
of specified equipment, including the types of masks SCHIRRIPA
had.   SCHIRRIPA admitted to law enforcement that he was aware of
this law.    Nevertheless, in the two weeks after March 25, 2020,
SCHIRRIPA (1) obtained an additional $40,000 worth of N95 masks,
and   (2)  charged his customers severely inflated prices in
connection with at least approximately 50 sales, through which he
charged them at least approximately $50,000.        For instance,
SCHIRRIPA charged up to $25 per mask for a mask which should have
cost an end-user only approximately $1.27. During a recorded call
with an undercover agent, SCHIRRIPA said, "We' re in a time of
emergency and shortage," but added, "when you have something no
one else has, it's not a high price."

           b.  Second,   in both    January and    February   2020,
SCHIRRIPA made a material false statement to the DEA.       On each
occasion, SCHIRRIPA falsely represented that as part of the recent
closure of his pharmacy, he had transferred to others, sold, or
destroyed all controlled substances.   In fact, SCHIRRIPA remained
in possession of thousands of controlled substance pills/patches,
including fentanyl, oxycodone, oxymorphone, morphine sulfate,
methadone,     hydromorphone,     dextroamphetamine,     concerta,
clonazepam, nucynta,   vyvanse, and zolpidem.     These substances
were all recovered from a safe in SCHIRRIPA's home.




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          c.    Third, SCHIRRIPA caused Medicare and Medicaid to be
billed for these controlled substance prescriptions, and he
falsely represented that these prescriptions were for patients of
his pharmacy. In fact, these prescriptions were not for patients
of   his   pharmacy,   and  SCHIRRIPA   himself   possessed   those
prescriptions at his home in Long Island. In connection with this
scheme, SCHIRRIPA used the personal identifying information of his
pharmacy's patients, without their authorization.

      RICHARD SCHIRRIPA'S HOARDING AND PRICE GOUGING SCHEME

      The COVID-19 Pandemic and the Defense Production Act

     8.   Based on my review of publicly available information, I
am aware that, in late 2019, a novel coronavirus, SARS-CoV-2 (the
"coronavirus"), was first detected in Wuhan, China, causing
outbreaks of the coronavirus disease COVID-19 that have since
spread globally. COVID-19 is highly contagious and causes severe
acute respiratory syndrome.  In total, COVID-19 has infected more
than approximately 4.8 million individuals worldwide and caused
more than approximately 320,000 deaths.

     9.   On or about January 31, 2020, the Secretary of Health
and Human Services ("HHS") declared a national public heal th
emergency under 42 U.S.C. § 247d as a result of the spread of
COVID-19 to and within the United States.   On or about March 11,
2020, the World Health Organization characterized COVID-19 as a
pandemic. On or about March 13, 2020, the President of the United
States issued Proclamation 9994 declaring a national emergency, as
a result of the rapid spread of COVID-19 within the United States.

     10. The Centers for Disease Control and Prevention has
issued guidance to health care providers recommending that they
wear personal protective equipment      ("PPE")  to prevent the
coronavirus from being transmitted by infected patients to
healthcare providers.     As COVID-19 spreads in the New York
Metropolitan area and across the United States, it threatens to
overwhelm hospitals and healthcare providers who are required to
care for rapidly increasing numbers of seriously ill patients with
a rapidly dwindling stock of PPE and other necessary health and
medical resources.   Accordingly, on March 18, 2020, the President
of the United States issued Executive Order 13909, see 85 Fed.
Reg. 16,227, invoking the powers vested in the President by the
Defense Production Act of 1950, 50 U.S.C. §§ 4501 et seq. (the
"DPA").



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      11. The DPA authorizes the President to, among other things,
"allocate materials, services, and facilities in such manner, upon
such conditions, and to such extent as he shall deem necessary or
appropriate     to  promote  the   national   defense."  50   U.S. C.
§ 4511 (a) (2).    The President may exercise this authority "to
control the general distribution of any material in the civilian
market" if the President finds "(l) that such material is a scarce
and critical material essential to the national defense, and
 (2) that the requirements of the national defense for such material
cannot otherwise be met without creating a significant dislocation
of the normal distribution of such material in the civilian market
to such a degree as to create appreciable hardship."       50 U.S.C.
§ 4511 (b).


     12.  "In order to prevent hoarding," the DPA further provides
that "no person shall accumulate (1) in excess of the reasonable
demands of business, personal, or home consumption, or (2) for the
purpose of resale at prices in excess of prevailing market prices,
materials which have been designated by the President as scarce
materials or materials the supply of which would be threatened by
such accumulation."    50 U.S.C. § 4512.    The DPA requires the
President to publish in the Federal Register "every designation of
materials the accumulation of which is unlawful and any withdrawal
of such designation," and authorizes the President to "prescribe
such conditions with respect to the accumulation of materials in
excess of the reasonable demands of business, personal, or home
consumption as he deems necessary to carry out the objectives of
this chapter." Id.

      13.   In Executive Order 13909, the President found that
"health and medical resources needed to respond to the spread of
COVID-19, including personal protective equipment and ventilators,
meet the criteria specified in section l0l(b) of the Act (50 U.S.C.
4511 (b))."    The President further delegated authority to the
Secretary of HHS to "identify additional specific heal th and
medical resources that meet the criteria of section l0l(b) "

     14. On or about March 23, 2020, the President issued
Executive Order 13910, see 85 Fed. Reg. 17,001, declaring it "the
policy of the United States" that heal th resources needed to
respond to the COVID-19 pandemic not be hoarded.    Such resources
included "personal protective equipment."        Accordingly,  the
President delegated to the Secretary of HHS the President's
authority under 50 U.S.C. § 4512 "to prevent hoarding of health
and medical resources necessary to respond to the spread of COVID-
19 within the United States," and "to implement any restrictions
on hoarding."

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     15. On March 25, 2020, the Secretary of HHS exercised this
authority, delegated by the President, to prevent the hoarding of
health and medical resources necessary to respond to the spread of
COVID-19 within the United States. The Secretary of HHS published
a notice, see 85 Fed. Reg. 17592, designating N95 Filtering
Facepiece Respirators, among other health and medical resources,
under the DPA as scarce materials or materials the supply of which
would be threatened by accumulation in excess of reasonable demands
of business, personal, or home consumption, or for the purpose of
resale at prices in excess of prevailing market prices (the "HHS
Notice") .

     16. The Defense Production Act makes the willful performance
of any act prohibited by§ 4512, "or any rule, regulation or order
thereunder," a crime punishable by a fine of not more than $10,000
or imprisonment for not more than one year.      50 U.S.C. § 4513.
Accordingly,   willfully   accumulating    designated   scarce   or
threatened materials either (1) in excess of the reasonable demands
of business, personal, or home consumption, or (2) for the purpose
of resale at prices in excess of prevailing market prices, is a
criminal offense.

                    Defendant RICHARD SCHIRRIPA

     17. Based on my involvement in this investigation, including
my review of the New York State Education Department website, I am
aware that RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant,
is a licensed pharmacist. He became licensed on or about December
21, 1979; his license is active until in or around January 2022.

     18. Based on my involvement in this investigation, including
my review of New York State Department of State incorporation
records and my participation in an interview of the defendant
(discussed below), I am aware that RICHARD SCHIRRIPA, a/k/a "the
Mask Man," the defendant, was the Chief Executive Officer of a
pharmacy in New York, New York -- Madison Avenue Pharmacy, Inc.
("MAP") -- until he sold this pharmacy less than one year ago.

     19.  In or around early April 2020, HSI received a tip that
RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant, was
allegedly selling bulk PPE at inflated prices throughout the New
York area. This PPE reportedly included thousands of surgical N95
masks used in the medical field.  The individual who supplied the
tip provided SCHIRRIPA's phone number (the "SCHIRRIPA Phone
Number").


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     The April 4, 2020 Undercover Call to RICHARD SCHIRRIPA

     20. On or about April 4, 2020, another HSI Special Agent,
acting in an undercover capacity (the "UC"), placed a recorded
telephone call to RICHARD SCHIRRIPA, a/k/a "the Mask Man," the
defendant at the SCHIRRIPA Phone Number. 1     During the recorded
call, which lasted longer than ten minutes, SCHIRRIPA and the UC
discussed a transaction involving masks.   SCHIRRIPA said that the
surgical grade N95 masks were available for sale for $22 per mask,
while the commercial grade N95 masks were available for sale at a
price of $150 for ten masks (i.e., $15 per mask). During the call,
SCHIRRIPA said the following, in sum and substance, and among other
things:

       •   "I had purchased them after the gouging took place,
           so the price -- my masks are very expensive, but
           you can't get them."

       •   "The masks I have, I bought prior to the outbreak
           in the US. When it hit China, I went out to get
           large quantities and unfortunately I paid very high
           for them, but you know something, when you have
           something no one else has, it's not a high price."

       •   "I used to sell a box of these for like $20,        now
           it's like $15 a mask."

       •   "We're in a time of emergency and shortage."

       •   "I'd like to just do it one shot .  You need one
           box?   Fine.  You need ten boxes?  Fine.  I just
           want to do it in one shot."

       •   "I have a very large        quantity.   I   spent   over
           $200,000 on masks."




1 The investigation has confirmed that RICHARD SCHIRRIPA, a/k/a
"the Mask Man," the defendant, used the mobile telephone device
associated with the SCHIRRIPA Phone Number.  Among other things,
in addition to SCHIRRIPA identifying himself as "Rich" and "Rich
Madison Avenue Pharmacy" during calls with the UC, a mobile
telephone device was later seized from SCHIRRIPA, which was
searched on SCHIRRIPA's written consent, which confirmed that it
was associated with the SCHIRRIPA Phone Number.

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"

           •   Referring to Mt. Sinai Hospital: "It's a freaking
               war zone.  It's fucking crazy."

           •   "The bottom line is that if you get an order
               together, I will bring some extra ones to the city.
               If you find out your quantity, just give me an idea
               so I can know how many to bring.   I can only fit a
               thousand masks in my car. And I got a lot of.
               shit, I gotta bring a thousand for a nursing home
               tomorrow."

           •   "[F] ind out how many you need and include anyone
               over 60 relative wise, and essential workers like
               nurses, and any of your girlfriend's affiliates or
               associates and.     . text me your name and address
               so I can generate a bill. So I would rather just
               sell them to you, and you sell it to them at the
               price I give you. If you can do that then I have no
               problem because I don't want any price gouging
               associated with this."

           •   "My name is Rich, Madison Avenue Pharmacy."

           •   "I'm a pharmacist.    My pharmacy license is still
               active." 2

    Based on my training,    experience, and involvement in this
    investigation, I am believe that, during this recorded call,
    SCHIRRIPA:

              a.   Expressed keen awareness of the concept of price
    gouging ("I had purchased them after the gouging took place"; "I
    don't want any price gouging associated with this.");

              b.   Stated that he had a very large quantity of PPE,
    including masks ("I went out to get large quantities"; "I have a
    very large quantity.  I spent over $200,000 on masks.");

               c.  Admitted that he bought a large quantity after
    COVID-19 emerged in China, but before it arrived in the United
    States ( "The masks I have, I bought prior to the outbreak in the
    US. When it hit China, I went out to get large quantities");

    2 During this recorded UC call, "Rich" also asked the UC if the UC
    was an essential worker and informed the UC -- who claimed to work
    in "Fintech" doing essentially IT work -- that IT communications
    was "essential."

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          d.   Admitted that his prices were extremely high
compared to typical market price ("I used to sell a box of these
for like $20, now it's like $15 a mask");

          e.   Expressed his awareness of the present health
crisis ( "We're in a time of emergency and shortage"; "It's a
freaking war zone" at Mt. Sinai Hospital); and

          f.   Asserted that he could charge a premium because of
the shortage of supply ("when you have something no one else has,
it's not a high price").

    Physical Surveillance of SCHIRRIPA on April 6 and 7, 2020

     21.  Based on my involvement in this investigation, including
my conversations with other law enforcement agents and officers,
I am aware that law enforcement (including myself) conducted
physical surveillance of RICHARD SCHIRRIPA, a/k/a "the Mask Man,"
the defendant, on April 6 and 7, 2020, during which time agents
repeatedly observed SCHIRRIPA engage in hand-to-hand transactions
consistent with his bulk sale of PPE, including in Manhattan.
Often, SCHIRRIPA sold boxes of apparent PPE on the street out of
the trunk of his car.

       SCHIRRIPA's Sale of PPE to the UC on April 9, 2020

     22.  Based on my involvement in this investigation, including
my conversations with other law enforcement officers, I know that
RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant, met with
the UC on April 9, 2020 on Madison Avenue in the vicinity of 97th
and 98th Streets.     This meeting was recorded.      Based on my
conversation with the UC,     I understand that the following
transpired, among other things:

           a.   SCHIRRIPA sold approximately 16 boxes of N95 masks
to the UC for a total price of approximately $2,690. Specifically,
SCHIRRIPA sold (1) 15 boxes of N95 commercial grade masks (referred
to as 8511s) for $150 per box (each box has 10 masks), and (2) one
box of N95 surgical grade masks (referred to as 1860s) for $440
for a box of 20 masks. Thus, SCHIRRIPA charged the UC $15 per N95
8511 (commercial grade) mask, and $22 per N95 1860 (surgical grade)
mask.

          b.   At first, SCHIRRIPA and the UC were parked on
opposite sides of Madison Avenue. The UC walked over to SCHIRRIPA,
and SCHIRRIPA told the UC to drive around the block and pull up

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next to SCHIRRIPA's car.   SCHIRRIPA added, in sum and substance
and in part, "I don't want anyone to see the stuff -- this stuff
is like gold right now, someone's gonna break into my car."

          c.   At one point during their conversation, SCHIRRIPA
said, unprompted, in sum and substance: "I feel like a drug dealer
standing out here.w

          d.   At   another  point   during  their  conversation,
SCHIRRIPA said that his supplier is in Florida. He added that the
wholesalers who provided these masks to his supplier are price
gouging, and he implied that these masks were originally obtained
on "the black market."

          e.   SCHIRRIPA said that he normally buys the surgical
grade masks for $20 per box and sells them for $40, but he said he
had purchased these for $400 per box.

          f.   The UC was able to see into SCHIRRIPA's car, which
was packed with boxes in both the backseat and the trunk.

          g.   SCHIRRIPA supplied an invoice for the purchase,
which referenced his office address within 1410 Madison Avenue,
New York, New York 10029 ("SCHIRRIPA's Apartment").

          h.   As for payment, the UC attempted to complete a Venmo
transaction, but the transaction would not go through (potentially
because the dollar amount was too large) . 3 SCHIRRIPA told the UC
to pay him by that evening, and the UC agreed (and was permitted
to keep the boxes of PPE).    Later that day, the UC again met up
with SCHIRRIPA and paid him $2,690 in cash for the 16 boxes of N95
masks; this meeting, too, was recorded.

    The April 10, 2020 Interviews of SCHIRRIPA and His Relative

     23. Based on my involvement in the execution of judicially
authorized search warrants on April 10, 2020 (discussed below), I
am aware that RICHARD SCHIRRIPA, a/k/a "the Mask Man," the
defendant, voluntarily agreed to be interviewed by law enforcement
agents, including myself. This April 10, 2020 interview took place
at SCHIRRIPA's residence on Long Island.    During this interview,
SCHIRRIPA said the following, in sum and substance and in part:


3 Venmo is a mobile payment service that allows users to transfer
funds to others electronically, using a cellphone application or
web browser.

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          a.   SCHIRRIPA knew that law enforcement was going to
come to his home.

          b.   SCHIRRIPA was aware of the Defense Production Act
and its price gouging and hoarding provisions.

          c.   SCHIRRIPA   had   bought     14,000    N95   masks   from   a
particular distributor.

          d.   SCHIRRIPA was marking up some of the masks by
50%.  For some masks, his markup was 10% ($20 to $22 per mask);
for other masks, his markup was 50% ($10 to $15 per mask).

          e.   SCHIRRIPA   had   sold     thousands    of   masks   in   the
preceding few days.

          f.   SCHIRRIPA made a profit on selling the masks --
specifically, 10% to 33% profit per mask.

           g.  When asked about the fact that he was selling a box
of surgical-grade N95 masks for $440, SCHIRRIPA said he could sell
them for $800 (per box of 20) and people would pay because they
need them.

          h.   SCHIRRIPA had spent $120,000 on masks.

          i.   Others had nicknamed him "the Mask Man."

          j.   He was eager for China to reopen, because he was
going to continue selling masks and he intended to buy more masks
from China at an approximate price of $5 per box.

     24. Based on my involvement in this investigation, including
the execution of a search warrant at the Long Island residence of
RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant, I am aware
that SCHIRRIPA's relative ("Relative-1") -- who appeared to live
in that residence, as well -- voluntarily agreed to be interviewed
by other law enforcement agents that day.    During that interview,
Relative-1 said, in sum and substance and in part, that SCHIRRIPA's
pharmacy started losing revenue about ten years ago, and that
SCHIRRIPA had used his personal savings to cover business expenses
and keep his pharmacy open.




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April 10, 2020 Searches of SCHIRRIPA's House, Apartment, and Car

                           6,660 N95 Masks

     25.  Based on my involvement in this investigation, including
my conversations with other law enforcement officers, I know that
several judicially authorized search warrants were executed on
April 10, 2020 -- specifically, warrants for (1) defendant RICHARD
SCHIRRIPA's Long Island, New York residence ("SCHIRRIPA's House");
(2)  SCHIRRIPA's New York,     New York apartment     (SCHIRRIPA's
Apartment); and (3) SCHIRRIPA's Audi vehicle ("SCHIRRIPA's Car").
In executing these search warrants, law enforcement seized a total
of approximately 6,660 N95 masks from these three locations: 5,760
from SCHIRRIPA's House, 410 from SCHIRRIPA's Apartment, and 490
from SCHIRRIPA's Car.

           Thousands of Pills of Controlled Substances

      26. Based on my involvement in this investigation, including
my participation in the execution of the judicially authorized
search warrant of SCHIRRIPA's House, I am aware that, among other
things, various controlled substances were found inside of a safe
in   the   basement,   including  fentanyl   patches,   oxycodone,
oxymorphone, morphine sulfate, hydromorphone, dextroamphetamine,
methadone, concerta, clonazepam, zolpidem, and nucynta. In total,
there were approximately 3,958 patches/pills in this safe. 4   The
prescription labels on these bottles were in other people's names;
none had the name of RICHARD SCHIRRIPA, a/k/a "the Mask Man," the
defendant, or the name of his cohabitant.

     27.  In speaking with law enforcement on April 10, 2020,
RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant, told agents
in sum and substance, and among other things, that this safe in
the basement contained narcotics from his pharmacy and he knew he
needed to destroy them.

                        Documentary Evidence

     28. Based on my involvement in this investigation, including
my participation in the execution of search warrants and the
subsequent review of evidence, I am aware that documents seized
from SCHIRRIPA' s House and SCHIRRIPA' s Apartment revealed the
following, among other things:

4 In addition, SCHIRRIPA's Apartment contained, among other things,

nearly 200 pills of Hydroxychloroquine or Hydroxychloroquine
sulfate, which are also designated in the HHS Notice.

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          a.    Folders: SCH IRR IPA had various folders, labeled
(among other things) "Price Gouging," "N95," "N95 New Orders," "3M
Inventory," "Invoices 3M and PPE," "Purchases PPE," "PPE Paid
Bills," and "Bank Info."

          b.    Handwritten Notes: Hand-written notes within the
"N95 Masks" folder list what appear to be various different
manufacturers and models of PPE, such as "3M 1860, 1870, 9132,"
"Du Pont Tyvex 600 800," "Halyard: 46767 46867," "ViroGuard 2 Heave
Duty," "Lakeland Microgard 3M," "Medline," etc. These handwritten
notes also include, in some instances, notations regarding pricing
and FDA approval.

          c.   SCHIRRIPA's PPE Purchases: Invoices reflecting the
purchase of face masks, including N95 masks, from at least three
different suppliers during 2020.

                i. One invoice, dated on or about February 13,
2020, appears to show that SCHIRRIPA purchased approximately
$229,175 worth of face masks -- including 3M 8210 N95 masks --
from a particular supplier with operations in New Jersey
("Supplier-1"). s

              ii.   ,~nother invoice, dated on or about February
19, 2020, appears to show that SCHIRRIPA purchased approximately
20 3M 1860S surgical masks for a total of $299.95 from a particular
e-commerce supplier with operations in Texas ("Supplier-2").

             iii.   Invoices and additional documents reveal that,
in or around February 2020, SCHIRRIPA purchased a total of
approximately $200,000 worth of N95 masks from a particular
supplier based in Mississippi ( "Supplier-3") .    SCHIRRIPA paid
approximately $10 per mask for thousands of N95 8511 masks, and
approximately $20 per mask for thousands of N95 1860 (and 1860S)
masks.

          d.   Sales Ledger: An apparent sales ledger, entitled
"3M N95 Total Sales," revealed nearly 50 mask transactions between
approximately March 26, 2020 and April 6, 2020; in connection with
these sales, SCHIRRIPA charged customers his approximately $50,000
in total.     This sales ledger generally matched SCHIRRIPA's
customer-by-customer invoices, discussed below.


5 SCHIRRIPA later informed agents that this particular transaction
did not go forward.

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          e.   Sales Invoices: Various apparent sales invoices
confirmed the date, quantity, price, and recipient for each of
SCHIRRIPA's sales of N95 masks. Each invoice included the name of
SCHIRRIPA's pharmacy -- the same pharmacy he had already closed.

                i.  Customers: SCHIRRIPA's customers were located
in eight states including New York, including some with Manhattan
addresses.

                 ii.  Prices: SCHIRRIPA's prices varied depending on
the   customer, but he consistently charged more than he had paid
for   the N95 masks; his prices ranged from approximately $21 to $25
per   mask for an N95 1860 mask, and from approximately $11 to $15
per   mask for an N95 8511 mask. 6

              iii.  Specific       Invoices:   Examples    of   invoices
include the following:

                     1.  An invoice dated April 8, 2020, in which
SCHIRRIPA charged $22 per N95 1860 mask, which masks were sent to
two doctors in New York, New York, for a total of $2,200 for 100
masks.

                     2.  An invoice dated April 5, 2020, in which
SCHIRRIPA charged an individual in Commack, New York $25 per N95
1860 mask, for a total of $500 for 20 masks.

                     3.  An invoice dated April 5, 2020, in which
SCHIRRIPA charged a funeral home in Huntington Station, New York
$15 per N95 8511 mask, for a total of $1,200 for 80 masks.

                     4.  An invoice dated April 5, 2020, in which
SCHIRRIPA charged a doctor in New York, New York $22 per N95 1860
surgical mask and $15 per 8511 mask, for a total of $590 for 30
masks.

                     5.  An invoice dated April 3, 2020, in which
SCHIRRIPA charged a funeral home in Northport, New York $15 per
N95 8511 mask, for a total of $1,500 for 100 masks.




6 As discussed below, according to a 3M representative, the
suggested retail price for an end-user is $1.27 for an N95 1860
mask (not up to $25), and $2.45 to $3.11 for an 8511 mask (not up
to $15); SCHIRRIPA therefore charged up to approximately 20 times
what an end user should pay.

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                     6.  An invoice dated April 3, 2020, in which
SCHIRRIPA charged a medical rehabilitation center in Brooklyn, New
York $22 per N95 1860 surgical mask and $15 per N95 8511 mask, for
a total of $890 for 50 masks total.

                     7.   Two invoices dated April 1, 2020, in
which SCHIRRIPA charged a drug store in Northport, New York $22
per N95 1860S mask and $15 per N95 8511 mask, for a total of $5,200
for 300 masks total.

          f.   Letter from 3M: SCHIRRIPA' s folder contained an
apparent letter from 3M, dated January 1, 2008, addressed to its
"Valued Customer," which explained differences between its various
"N95 particulate respirators," including 1860/1860S models.

          g.   Articles: SCHIRRIPA' s folders contained articles
about the COVID-19 pandemic, including the following:

                i.  An article entitled "A comprehensive timeline
of the new coronavirus pandemic, from China's first COVID-19 case
to the present," which included a timeline of major events in the
spread of the pandemic.      The article was annotated with red
asterisks marking two dates on that timeline: the first COVID-19
death in China, and the first COVID-19 death in the United States.

               ii.   An article dated April 2, 2020 entitled, "'It
is impossible for us to stop the spread': Nursing homes overwhelmed
by coronavirus".

                       SCHIRRIPA's Cellphone

     29.  Based on my involvement in this investigation, I am aware
that RICHARD SCHIRRIPA, a/k/a "the Mask Man," the defendant,
consented verbally and in writing to a search of his cellphone,
which revealed the following, among other things:

          a.   Text messages with PPE customers;

          b.   Photographs of N95 masks;

                                         7
          c.   A photograph of the UC;




7 During the April 10, 2020 interview, SCHIRRIPA told agents, in
sum and substance and in part, that he had taken this photograph
of the UC "just in case I have to find him and go kick his ass."

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          d.   Text messages with a sales representative             of
Supplier-3 ("Sales Rep-1"), including the following messages:

               Sales Rep-1: Wanna bet by this time next month these
               will be going for $100 per mask/ Couple thousand
               more people will pass and these things are gonna be
               nowhere to be found

               *   *   *
               Sales Rep-1: when you can, can you please email me
               over a    referral  email,   stating you have    a
               connection with [] hospital and we will be working
               together to service them with masks .     . And we
               get one step closer to getting your ass retired

               *   *   *
               Sales Rep-1: Let's flip this shit and make stupid
               money

               *   *   *
               SCHIRRIPA  (3/26/2020): Important. Please call me
                   . I have a contact that has a 3M contract and
               can get lg quantities of 1860 within 3 days.

          e.   Text   messages   with  customers   and   potential
customers, including one dated on or about April 2, 2020, in which
SCHIRRIPA wrote, in sum and substance and in part, that he was
selling "N95 Respirators"; he had sold thousands and still had
thousands available for sale; and he bragged that he "[s]aw it
coming" and the "good thing is no one has them".

          f.   Web browser history that includes various articles
about the COVID-19 pandemic and price gouging, including articles
with the following titles, among others:

                   Coronavirus   price   gouging:   PIXll   visits
                   Manhattan drug store hit with fine (3/26/2020)

                   United States Coronavirus: 64,832 Cases and 913
                   Deaths - Worldometer (3/25/2020)

                   Coronavirus Update (Live): 466,752 Cases and
                   21,148 Deaths from COVID-19 Virus Outbreak -
                   Worldometer (3/25/2020)

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                   A Timeline of the Coronavirus Pandemic -          The
                   New York Times (3/25/2020)

                   Cuomo Slams Feds    for COVID-19 Ventilator
                   Shortage: 'You Pick Who Dies' - NBC New York
                   (3/24/2020)

                   Stores   Try  to   Protect   Customers   During
                   Coronavirus Pandemic - NBC New York (3/24/2020)

                   Emergency Rule:      Price   Gouging    is   Illegal
                   (3/17/2020)

                   Price spikes on coronavirus-related products
                   prompt price gouging concerns      abc7ny.com
                   (3/10/2020 and 3/12/2020)

     Further Accumulation of N95 Masks after the HHS Notice

     30. The investigation has revealed that RICHARD SCHIRRIPA,
a/k/a "the Mask Man," the defendant, continued to accumulate and
add to his stockpile of N95 masks, following the HHS Notice that
was issued on March 25, 2020.         Specifically, based on my
involvement in this investigation,      including my review of
documents and reports, and my interview of the defendant, I am
aware of the following, among other things:

          a.   As to one purchase of N95 masks from Supplier-3,
SCHIRRIPA's business partner ("CC-1") received an $80,000 invoice
from Supplier-3, paid it fully, and received all of the masks. A
wire transfer shows a $40,000 transfer, on or about March 20, 2020,
from Madison Avenue Pharmacy's bank account to CC-l's pharmacy's
bank account.   In light of this payment, SCHIRRIPA acknowledged
during his interview that he took possession of half of those N95
masks and CC-1 remained in possession of his half of the masks.

          b.   In an interview on or about April 10, 2020, CC-1
informed law enforcement that he was unable to sell any of his
masks. CC-1 told SCHIRRIPA that hospitals said the price was too
high and would not buy them.   Accordingly, CC-1 eventually sold
his half to SCHIRRIPA.

          c.    During the April 10, 2020 interview of SCHIRRIPA,
SCHIRRIPA confirmed this by stating, in sum and substance, that he
had recently bought out CC-1 for $40,000 for his share of the N95
masks and recently taken possession of those masks.

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           d.    Documents recovered during the April 10, 2020
 search of SCHIRRIPA's Apartment confirm that he acquired CC-l's
 share of the N95 masks after March 25, 2020.          Specifically,
 handwritten notes recovered from his Apartment indicate, "[CC-1]
 • Rich 4/6/2020," and include "1860S," "1860," "boxes," and
 various quantities.   A second wire transfer also shows a $40,000
 transfer, on or about April 8, 2020, from Madison Avenue Pharmacy's
 bank account to CC-l's pharmacy's bank account.     Accordingly, I
 believe SCHIRRIPA bought thousands of additional N95 masks between
.on or about April 6, 2020 and April 8, 2020.

                     Interview of a 3M Representative

     31. Based on my involvement in this investigation, including
my review of a report of interview,         I am aware that a
representative of 3M agreed to a voluntary interview with law
enforcement on or about May 5, 2020, and said the following, in
sum and substance and in part:

            a.     3M has not altered its prices due to the COVID-19
pandemic.

          b.   3M has not altered its prices since the beginning
of the COVID-19 pandemic, except for minor, previously scheduled
price increases that affected wholesalers and would amount to
"cents or pennies" to end users/ customers.    This minor price
adjustment, which is routine, was due to standard financial
factors, not the pandemic.

          c.   Two popular, widely distributed types of N95 face
masks are 1860 and 8511.    3M N95 1860 masks are surgical-grade
face masks, and 3M N95 1860S masks are simply "small" 1860 masks.
3M 8511 face masks are not surgical-grade.

          d.   For either an N95 1860 or an N95 1860S face mask,
an end-user should pay $1.27.

          e.   For an N95 8511 face mask, an end-user should pay
between $2.45 and $3.11.

          f.   He referred law enforcement to a 3M website, which
notes, in part, that the "[a]ctual prices may be lower" than even
these "list prices." 8

8 See 3M,        Fraudulent   Activity,   Price Gouging, & Counterfeit
Products,           April        8,        2020,      available    at

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             SCHIRRIPA'S FALSE STATEMENTS TO THE DEA

        2009 and 2015 Inspections of SCHIRRIPA's Pharmacy

      32. Based on my review of publicly available information and
DEA reports, I am aware that, in or around 2009, the DEA conducted
a routine inspection of MAP, which was fully owned by RICHARD
SCHIRRIPA, a/k/a "the Mask Man," the defendant.     This inspection
revealed various violations of Title 21, leading to a federal civil
case. 9 In or around 2013, SCHIRRIPA and MAP settled this case with
the U.S. Attorney's Office in the Southern District of New York.
As   part   of   the  settlement,   SCHIRRIPA  and   MAP   admitted
responsibility    for  numerous   violations  of   the   Controlled
Substances Act (the "CSA") between February 2007 and July 2009,
and agreed to pay $200,000 in civil penalties and to implement
enhanced compliance procedures. 10 As part of the 2013 settlement,
SCHIRRIPA agreed to install a Compliance Officer at MAP, who
required pre-approval by the DEA, for a period of five years.

     33. Based on my conversations with a DEA employee, as well
as my review of DEA records and reports, I am aware that on or
about March 24, 2015 (during the five-year term of the Compliance
Officer), a DEA inspection of MAP revealed that MAP failed to
maintain an accurate inventory, in violation of Title 21, Code of
Federal Regulations ( "CFR"), Section 1304. 11 (a) .  During that
inspection, DEA audited five drugs.       For one of those five


https://multimedia.3m.com/mws/media/1803670O/fraudulent-
activity-price-gouging-and-counterfeit-products.pdf.
9The civil case was filed in this District under the caption
United States v. Richard Schirripa, 12 Civ. 610 (MHD).

10Specifically, SCHIRRIPA and MAP admitted the following violations
of the CSA: SCHIRRIPA allowed dispensing pharmacists at MAP to
order Schedule II controlled substances using his private access
key, rather than requiring them to obtain and use their own keys;
he and the pharmacy did not ut1.lize the relevant software to
electronically   reconcile   orders  of Schedule     II  controlled
substances; MAP was not maintaining a complete and accurate record
of the pharmacy's supply of OxyContin at the time of the DEA audit;
SCHIRRIPA and MAP failed to conduct a timely biennial inventory in
2009; and SCHIRRIPA and MAP did not timely report the loss of
OxyContin to the DEA; and SCHIRRIPA did not use the relevant
software to produce the electronic DEA Form 222 order forms when
so requested by the DEA.

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controlled substances, Oxycodone 30mg pills, MAP had a shortage of
approximately 191 pills (when comparing physical inventory to
pharmacy records).  For three of those five controlled substances
-- hydrocodone, methadone, and endocet -- MAP had an overage (when
comparing physical inventory to pharmacy records).     On or about
April 20, 2015, DEA sent a formal Letter of Admonition to RICHARD
SCHIRRIPA, the defendant, noting this failure.   In a letter dated
on or about May 14, 2015, SCHIRRIPA wrote to the DEA stating that,
in sum and substance and in part, MAP acknowledged violating 21
CFR § 1304.ll(a) and had taken corrective action.

                      2020 Attempted Audit of MAP

     34.  Based on my conversations with a DEA employee, as well
as my review of DEA records and reports, I am aware of the
following, among other things:

          a.   According to federal regulations, before a pharmacy
"discontinue[s] business activities," that pharmacy is required to
notify DEA "at least 14 days in advance." 21 CFR § 1301.52. Among
other things, this requirement helps ensure that the DEA is aware
of situations in which large quantities of dangerous substances
are likely to be transferred or sold.    SCHIRRIPA did not comply
with this regulatory requirement.

          b.    On or about January 28, 2020, two DEA Di version
Investigators attempted to conduct a routine audit of MAP.
However, upon arriving at the (only) address of record for MAP,
the pharmacy appeared to be closed, and the Diversion Investigators
saw a piece of paper on the storefront that stated, in substance
and in part, that the pharmacy was no longer in business and that
its controlled substances had been transferred to a specified local
pharmacy. As a result, DEA was unable to conduct an audit of MAP.
Before this attempted audit, DEA was not aware that MAP had closed.
The two Diversion Investigators then went, in person, to the local
pharmacy that was specified, on MAP's storefront, as the purchaser
of MAP's controlled substances.       Shortly thereafter, RICHARD
SCHIRRIPA, a/k/a "the Mask Man," the defendant, called the DEA.

          c.   On or about January 31, 2020, SCHIRRIPA wrote a
signed letter to the New York Division of the DEA, in which he
stated, in sum and substance and in part, the following (emphasis
added):

                 i.   "I am the sole shareholder of Madison Avenue
Pharmacy Inc."



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               ii.   "I am submitting [MAP]' s DEA Registration
Certificate for retirement at this time, as [MAP] is no longer in
business.          Back on September 9, 2019, we closed down the
pharmacy operations of [MAP] and sold the majority of the assets,
prescription records    and the non-controlled and controlled
prescription drugs to a local Duane Reade Pharmacy."

              iii.   "During the ensuing time after September 9,
2019, [MAP] was selling off the over the counter products, as well
as sorting out and packing up the remaining various expired
pharmaceutical products, which needed to be returned to a reverse
distributor, and processed for credit. " 11

               iv.   "[MAP] is now totally closed down and all over
the counter drugs and sickroom supplies have been sold and all
pharmaceutical products have been _returned for credit via our
reverse distributor.    Therefore, upon receipt of this letter we
would appreciate your retiring the DEA number for Madison Avenue
Pharmacy Inc."

As explained below, I believe each balded statement in this January
31, 2020 letter was deliberately false.

          d.   On or about February 11, 2020, a meeting took place
at the office of SCHIRRIPA's attorney, located in New York, New
York.   Four indi victuals attended this meeting: SCHIRRIPA, his
attorney, and the two aforementioned DEA Diversion Investigators.
During this meeting,      SCHIRRIPA told the two DEA Diversion
Investigators the following, in sum and substance and in part:

                i.  All  Schedule  II  through   V  controlled
substances were sold and transferred to Walgreens Corporation,
doing business as Duane Reade.

               ii.  He  had   returned  Schedule   II   controlled
substances to two particular suppliers, which he named.




11 To "reverse distribute" means "to acquire controlled substances
from another registrant or law enforcement for the purpose of:
(1) Return to the registered manufacturer or another registrant
authorized by    the manufacturer    to  accept  returns   on the
manufacturer's behalf; or (2) Destruction." 21 CFR § 1300.01.


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               iii. He used two particular reverse distributors,
which he named, to destroy all Schedule II through V controlled
substances. 12

Accordingly,  SCHIRRIPA again represented that he had sold,
returned, or destroyed all controlled substances.    As explained
below, I believe this, too, was a deliberately false statement.

          e.   At this     meeting,    SCHIRRIPA   surrendered   his   DEA
registration for cause.   13


          f.   In light of SCHIRRIPA' s representations and the
surrender of his DEA registration, DEA closed its investigation of
him and MAP at that time.

          The April 10, 2020 Search of SCHIRRIPA's House

     35.  As noted above,    RICHARD SCHIRRIPA,    the defendant,
voluntarily spoke with law enforcement agents on April 10, 2020.
During that interview, SCHIRRIPA told agents in sum and substance,
and among other things, that the safe in the basement of
SCHIRRIPA's House had narcotics in it that needed to be destroyed.

      36. As noted above,     based on my involvement in this
investigation, including my participation in the execution of the
judicially authorized search warrant of SCHIRRIPA's House, I am
aware that, among other things, various controlled substances were
found inside of a safe in the basement, including fentanyl patches,
oxycodone,    oxymorphone,    morphine    sulfate,    hydromorphone,
dextroamphetamine, methadone,     concerta,   clonazepam,  zolpidem,
nucynta, and vyvanse. In total, there were at least approximately
3,958 patches/pills in this safe.           Based on my training,
experience, and research, I am aware that each of these controlled
substances is federally scheduled and that various of these
substances   are   either    pain   medication,    attention-related
medication, or anxiety-related medication for which there is a
substantial illicit market.




12 There is no accepted medical use for a Schedule I         substance,
such as heroin or cocaine.

13SCHIRRIPA also signed a "Surrender for Cause of DEA Certificate
of Registration,u in which he acknowledged his "alleged failure to
comply with the Federal requirements pertaining to controlled
substances or list 1 chemicals.u

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     37. As part of my involvement in this investigation, I
examined the labels on these prescription bottles; most, but not
all, of the bottles contained such labels.     These labels stated
that the prescriptions were filled at MAP between 2012 and 2019.
These labels contained at least approximately 25 different patient
names; none of these labels had the name of RICHARD SCHIRRIPA, the
defendant, or any of SCHIRRIPA's cohabitants, as the patient for
whom the pills/patches were prescribed. 14

      38. These labels also set forth various quantities of pills.
Based on the sums set forth in these labels, there should have
been approximately 4,969 pills/patches in these bottles of
pills/boxes of patches.   Instead, as noted, the actual quantity
was only 3,958 pills/patches          revealing that more than
approximately 1,000 were rnissing. 15

     39. There were also a number of prescriptions that were
completely filled (i.e., no pills were missing), including, among
others, two recent prescriptions: (1) a prescription of 240 pills
of Oxycodone/APAP 10-325, dated September 9, 2019 -- the same day
that SCHIRRIPA stated that MAP closed all operations; and (2) a
prescription for 60 pills of Vyvanse, dated August 6, 2019.

     40.   Based on the foregoing, I believe that defendant RICHARD
SCHIRRIPA' s representations to the DEA in January and February
2020 were deliberately false.     He stated, both verbally and in
writing, that he had transferred, sold, or destroyed (through a
reverse distributor) all controlled substances.     In fact, he had
thousands of pills/patches in his downstairs safe, as he admitted
on April 10, 2020.1 6




14   On a few labels, the name of the patient had been scratched out.

15 Some, but not all, of the prescription bottles with "missing"
pills contained a hand-written notation consisting of a slash over
the printed quantity, and a hand-written number that was lower
than the printed number.

16 Based on my review of DEA laboratory test results, I am aware
that the DEA has conducted laboratory tests to date of two of the
various substances seized from SCHIRRIPA's House on April 10, 2020.
Both substances tested positive for the presence of the controlled
substance listed on their respective label -- fentanyl in one case,
and oxycodone in the other.

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               SCHIRRIPA'S HEALTH CARE FRAUD SCHEME

   Interviews of Twelve Individuals Whose Names Appear on the
  Labels of Controlled Substances Seized from SCHIRRIPA's House

      41. Based on my involvement in this investigation, including
my participation in various patient interviews, I am aware that,
during the week of May 11, 2020, law enforcement conducted
interviews, both in-person and by telephone, of approximately
twelve individuals whose names appear on the labels of controlled
substances seized from SCHIRRIPA' s House on or about April 10,
2020.   In sum and substance and in part, these twelve individuals
stated the following:

          a.   All twelve individuals had no idea why someone else
would be in possession of their prescription.

          b.   The majority recalled filling prescriptions at MAP.

          c.  The majority paid for their prescriptions through
Medicare or Medicaid.

          d.   Eleven of twelve individuals always picked up their
prescriptions (either from MAP or generally), or had a relative do
so.    The tenth individual sometimes did not pick up his
prescriptions from MAP, due to his lack of funds.

          e.   Ten of twelve individuals had never returned a
prescription to MAP, and an eleventh believed she had never done
so.  The twelfth individual did not recall; he said he might have
once   taken  back   an   oxycodone  prescription   after   using
approximately five pills and determining it was the wrong
prescription.

          f.   Based on my training, experience, and involvement
in this investigation,     including my conversations with DEA
employees, I believe that RICHARD SCHIRRIPA, a/k/a "the Mask Man,"
the defendant, was filling prescriptions (or causing prescriptions
to be filled) in the names of MAP' s patients, without those
patients' consent.

                      Four Particular Patients

     42. Based on my involvement in this investigation
including my review of MAP's records, my analysis of labels on the
controlled substances seized from SCHIRRIPA's House on April 10,
2020, my conversations with a DEA Special Agent, and my review of

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data provided by the U.S. Department of Health and Human Services
("HHS") -- I am aware of the following, among other things:

                              Patient-1

           a.   A significant majority of the controlled substances
seized from SCHIRRIPA's House on April 10, 2020 contained labels
with purported patient information.     On a few of those labels,
however, the purported patient's name was scratched out.      In at
least one of these instances -- "Tampered Label-1" -- the other
information on the label remained visible, including the patient's
Brooklyn, New York address; the type of controlled substance
 (Oxycodone); the quantity of pills printed on the label (120); the
prescription number ("Rx Number-1"); the date on which the
prescription was     filled   (July 16,   2019);   the prescribing
physician; and the pharmacy that filled the prescription (MAP).

           b.   MAP records contain prescription records for Rx
Number-1, which is associated with a particular patient ("Patient-
1"), and the same drug information described in the prior paragraph
(i.e., 120 pills of Oxycodone, filled on July 16, 2019) . 17

          c.     Patient-l's information was supplied to HHS.  HHS
supplied records confirming that, on or about July 16, 2019, MAP
billed Medicare for the prescription associated with Tampered
Label-1      i.e., the prescription for Patient-1, which had Rx
Number-1 on the label, and which consisted of 120 pills of
Oxycodone, and was filled on or about July 16, 2019.      Medicare
paid   at   least    approximately   $31.28  for   this  Oxycodone
prescription. 18

          d.   On or about April 10, 2020, agents found this
particular prescription of Oxycodone in SCHIRRIPA' s House; 25
pills remained, and 95 pills were missing.

          e.   On or about May 14, 2020, Patient-1 was interviewed
by law enforcement and stated the following, in sum and substance
and in part:

17Based on my review of publicly available information, I am aware
that every prescription in New York State is assigned a unique
prescription number.

18The Medicare program ("Medicare") is a federal heal th care
program providing benefits to persons who are over the age of 65
or disabled. Medicare is administered by the Centers for Medicare
and Medicaid Services ("CMS"), a federal agency within HHS.

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                i.  She  used  to   fill  prescriptions  at  MAP
approximately once per month, but had not done so for some time;
when MAP    closed,  they transferred their prescriptions     to
Walgreens.

               ii.   She had Medicare.

              iii.   She never took back a prescription to MAP.

               iv.  She once had someone else pick             up    her
prescription when she had just had surgery, but MAP            did   not
otherwise allow it.

                v.  There was no reason a prescription in her name
should end up in anyone else's home.

                              Patient-2

           f.   Similarly,  on   another  label,   the  purported
patient's name was scratched out -- "Tampered Label-2" -- but the
other information on the label remained visible, including the
patient's Wayne, New Jersey address; the type of controlled
substance (Vyvanse); the quantity of pills printed on the label
 (60); the prescription number ("Rx Number-2"); the date on which
the prescription was filled (August 6, 2019); the prescribing
physician; and the pharmacy that filled the prescription (MAP).

           g.  MAP records contain prescription records for Rx
Number-2, which is associated with a particular patient ("Patient-
2"), and the same drug information described in the prior
paragraph.

          h.    On or about April 10, 2020, agents found this
particular prescription of Vyvanse in SCHIRRIPA's House; all 60
pills remained.

          i.   On or about May 14, 2020, Patient-2 was interviewed
by law enforcement and stated the following, in sum and substance
and in part:

               i.  She had infrequently filled prescriptions at
MAP; it had been at least one year, and perhaps more, since she
had done so.

               ii.  She   paid  for  prescriptions   through         her
employer health insurance, not Medicare or Medicaid.


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              iii.  There is no reason a prescription in her name
would end up in someone else's home.

               iv.  She never had a prescription denied at MAP,
and she never brought back a prescription to MAP.

                                 Patient-3

           j.  Two of the prescriptions seized from SCHIRRIPA' s
House on April 10, 2020 were purportedly for a particular patient
who lived in New York, New York ("Patient-3").         These two
prescriptions -- respectively dated on or about November 5, 2014
and January 6, 2015 -- were each for approximately 60 pills of
Oxymorphone ER 40mg. Both prescriptions were filled at MAP.

          k.     HHS supplied records confirming that, on or about
November 5, 2014 and January 6, 2015, respectively, MAP billed
Medicaid, which paid a total of approximately $1,043.80 for these
prescriptions. 19

          1.   Both pill bottles containing Patient-3's name had
missing pills, at the time they were found at SCHIRRIPA's House;
one bottle was missing 50 pills, the other 30.

            m.   Agents interviewed Patient-3 on or about May 11,
2020.    Patient-3 stated, in sum and substance and in part, that:

                   i.   He   always   picked up his   prescriptions     from
MAP;

                  ii.   He had never returned a prescription to MAP;
and

              iii.  He had no idea how a prescription with his
name could end up in someone else's possession.




19 The New York State Medicaid program ("Medicaid") is a federal
and state health care program providing benefits to individuals
and families who meet specified financial and other eligibility
requirements and certain others who lack adequate resources to pay
for medical care.    CMS oversees Medicaid as well as Medicaid
programs in participating states. CMS provides substantial funds
to New York State for the Medicaid program.

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                              Patient-4

          n.   One of the prescriptions seized from SCHIRRIPA' s
House on April 10, 2020 was purportedly for a particular patient
who lived in New York, New York ("Patient-4"). This prescription,
dated on or about July 28, 2014, was for approximately ten PT7
fentanyl 75mcg patches. This prescription was filled at MAP.

          o.   HHS supplied records confirming that, on or about
July 28, 2014, MAP billed Medicaid, which paid approximately
$145.01 for this prescription.

          p.   The box of fentanyl patches containing Patient-4's
name had two missing patches, at the time it was found at
SCHIRRIPA's House.

          q.   Agents were unable to interview Patient-4, as she
had passed away.

     43. Based on the foregoing, I respectfully submit that there
is probable cause to believe that RICHARD SCHIRRIPA, a/k/a "the
Mask Man," the defendant,      fraudulently billed Medicare and
Medicaid for controlled substance prescriptions and represented
that those prescriptions were       for    individual patients  of
SCHIRRIPA' s  pharmacy,  when    in  fact,    SCHIRRIPA had  those
prescriptions filled for himself and possessed those prescriptions
at his home in Long Island. 20




20 Based on my conversation with a DEA Diversion Investigator, I
know that (1) DEA authorization is required for a pharmacist to
receive "take-backs" from patients (i.e., when a patient hands in
an old or partially used prescription), see 21 CFR § 1317.40, and
(2) between 1989 and 2020, SCHIRRIPA was never authorized to
receive "take-backs".

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     WHEREFORE, I respectfully request that an arrest warrant be
issued for RICHARD SCHIRRIPA, a/k/a nthe Mask Man," the defendant,
and that he be arrested and imprisoned or bailed, as the case may
be.


                                   s/Matthew Macchiaroli by
                                   KNF,USMJ
                                     MATTHEW MACCHIAROLI
                                   Special Agent
                                   Homeland Security Investigations

Sworn to me through the transmission
of this Affidavit by reliable electronic means,
pursuant to Federal Rules of Criminal Procedure
41(d) (3) and 4.1, this 21st day of May, 2020



THE HONORABLE KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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